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 8                             UNITED STATES DISTRICT COURT

 9                            SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,              Case No. 18-cr-4683-GPC
11
                   Plaintiff,               DECLARATION OF ASSISTANT U.S.
12                                          ATTORNEY MELANIE K. PIERSON IN
             v.                             SUPPORT OF UNITED STATES’ RESPONSE
13                                          TO THIRD MOTION TO COMPEL DISCOVERY
     JACOB BYCHAK et. al.,                  REGARDING INFORMANT
14
15                 Defendants.

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          I, Melanie K. Pierson, hereby submit the following declaration in
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     support      of   the   United   States’   response   and   opposition     to   the
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     defendants’ third motion for discovery regarding an informant in this
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     case.    I state, under penalty of perjury, that I know the following to
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     be true, based on my review of the files and records of the case:
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          1.      I have been employed as an Assistant United States Attorney
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                  in the United States Attorney’s Office for the Southern
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                  District    of   California   since   1987.    I   am   one   of   the
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                  prosecutors assigned to the investigation and prosecution of
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                  Jacob Bychak, Mark Manoogian, Mohammed Abdul Qayyum and Petr
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                  Pacas in Criminal Case No, 18cr-4683-GPC.
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 1      2.    On August 20, 2021, this court ordered the United States to

 2            ask SS to identify the documents provided by SS to the FBI

 3            that SS had obtained from CY, an individual believed by the

 4            defense to have access to internal Company A documents.

 5      3.    SS replied to this request by email of August 25, 2021, an

 6            excerpt of which was attached as Exhibit C to the declaration

 7            of Jessica Munk as evidence in support of the defense third

 8            motion for discovery related to informants (ECF 281-5). The

 9            complete email, redacted to protect the identity of SS, is

10            filed under seal as Exhibit 17.       SS identified eleven emails

11            (hereinafter “the Eleven Emails”) received from CY that were

12            provided to the FBI. The Eleven Emails were provided to the

13            FBI first on October 12, 2017, and again on November 8, 2018,

14            after the FBI apparently had difficulty viewing the attached

15            files.

16      4.    By letter to the defense of August 25, 2021, in response to

17            the court’s order of August 20, 2021, I identified by Bates

18            number the Eleven Emails, as well as the emails transmitting

19            those records.      A true and correct copy of this letter,

20            redacted to omit the full name of CY, is filed under seal as

21            Exhibit 15.     True and correct copies of the Eleven Emails

22            are filed under seal as Exhibits 2-12.          The emails from SS

23            transmitting the Eleven Emails to the FBI are filed under

24            seal as Exhibits 1 and 13.

25      5.    On September 22, 2016, the United States issued a subpoena

26            duces tecum for the records of the company that employed

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 1            Daniel Dye. On September 23, 2016, the United States issued

 2            subpoenas duces tecum to Company A and five other related

 3            companies.     For ease of presentation at trial, the government

 4            intends   to    offer   the   records   obtained   via   grand   jury

 5            subpoenas as evidence in trial.         Three of the Eleven Emails

 6            were also produced to the defense as part of the records

 7            produced pursuant to the Company A subpoenas previously

 8            referenced.     A spreadsheet matching the Eleven Emails to the

 9            bates numbers of the discovery produced pursuant to the

10            subpoenas is filed under seal as Exhibit 16.

11      6.    I am one of the Assistant U.S. Attorneys who presented the

12            evidence to the grand jury in this case, and I am primarily

13            responsible for drafting the indictment in this case.             The

14            first time I became aware of the Eleven Emails was in

15            September of 2020, shortly before the communications between

16            SS and the FBI were produced as discovery. When I noticed

17            that the zip file contained emails involving an attorney, I

18            stopped reading and asked for a taint review before the items

19            were produced in discovery, to protect any potential attorney

20            client privilege. It is impossible for the Eleven Emails to

21            have informed my investigation of the case, or decisions

22            regarding charges, as those decisions had been made at least

23            two years before I became aware of the Eleven Emails.            None

24            of the Eleven Emails were presented to the grand jury, and

25            none are intended for use in the government’s case in chief

26            at trial.

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 1      7.    SS is not a percipient witness to any of the events charged

 2            in this case and will not be a witness for the government in

 3            its case in chief.

 4      8.    At the time that SS began providing information to the FBI

 5            in   this    case   in   2013,   SS   had   not   been   given   a   CHS

 6            (Confidential Human Source) number by the FBI.            By the time

 7            this case was indicted and production of discovery began in

 8            2018, SS had been given a CHS number by another FBI field

 9            office.     In redacting the reports of contact between the FBI

10            and SS for discovery in this case in 2018, the FBI provided

11            copies of reports which identified SS by CHS number, rather

12            than by name.       This left the misleading impression that SS

13            had been a CHS for the FBI when providing information in this

14            investigation as early as 2013. The FBI prepared a report

15            explaining that SS had not become a CHS for the FBI until

16            October 12, 2018, and prior to that date had been voluntarily

17            providing information without direction from any FBI agent.

18            This report was attached as Exhibit B (ECF 28-4) to Ms.

19            Munk’s declaration as evidence in support of the motion for

20            discovery.

21      9.    The defense was provided with redacted copies of the original

22            reports of communications with SS where SS was identified by

23            name rather than CHS number to demonstrate that the only

24            difference in the wording of the reports was the manner that

25            the identity of SS was protected. Unfortunately, in a rush

26            to provide these reports to the defense, the government

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 1            inadvertently failed to fully redact all references to the

 2            name of SS, revealing a first name in one document and a last

 3            name in another. The inadvertent disclosure occurred in spite

 4            of the fact that word searching software was used to review

 5            the discovery and multiple members of the prosecution team

 6            reviewed the discovery prior to production. Nonetheless, the

 7            government’s       interest      in   protecting      the   identity      of   SS

 8            remains strong, as SS continues to assist the FBI in other

 9            unrelated investigations in other areas of the United States.

10      10.   The reports of contact with SS were provided in discovery

11            production 2 on December 4, 2018.                The reports set forth the

12            information provided by SS, including any documents provided,

13            and    identified     the     date    that     such    information        and/or

14            documents were provided.

15      11.   The bulk of the emails between the FBI and SS were produced

16            in discovery productions 25 through 27, between September

17            30, 2020, and March 9, 2021.              Additional emails continue to

18            be produced in discovery as they are received. Without any

19            request or encouragement from the government, SS has been

20            following    the    case    on    PACER    and    emailing       the    FBI   with

21            comments about the defense filings.                   As these emails are

22            received, they are provided as discovery.

23      12.   In    response   to   the     most    recent      filing    by    the    defense

24            requesting further discovery regarding SS and Spamhaus, SS

25            sent another email to the FBI on September 21, 2021. A copy

26            of this email, redacted to protect the identity of SS, is

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 1             filed under seal as Exhibit 14.        In this email, SS stated,

 2             ”Spamhaus never encouraged him [CY] to send any internal

 3             documents,” noting that “Spamhaus couldn't have prodded or

 4             encouraged anyone to turn over documents since we didn't know

 5             he had them in the first place.” SS went on to state, “The

 6             government did not know about the ‘intrusive conduct’ in the

 7             form of ‘purloined’ emails until they received them (YEARS

 8             after this case had already been built by search warrant

 9             information). Up until that point, any talk about [CY] or

10             other informants was only about handing them off to FBI to

11             deal with, NOT about sending over any emails from him.”

12       13.   SS had indicated to the FBI in 2014 that Spamhaus received

13             information from an anonymous private party (Anon-1) who

14             appeared to be employed within Adconion.         This was the only

15             other party besides CY that Spamhaus identified to the FBI

16             as possibly having insider-type information relevant to this

17             case. SS provided the email address of Anon-1 to the FBI.

18             Although the FBI attempted to meet and speak to Anon-1, those

19             attempts were not successful. The FBI never spoke with, met

20             with,   or   received    any    documentation    from    anyone   who

21             identified as being Anon-1.

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     DATED:    September 27, 2021
24                                            MELANIE K. PIERSON
                                              Assistant U.S. Attorney
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